Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 1 of 20 Page ID #:24886



 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   IN RE FORD MOTOR CO. DPS6)                   No. 2:18-ML-02814 AB (FFM)
     POWERSHIFT TRANSMISSION)
12   PRODUCTS LIABILITY LITIGATION)               REPORT AND RECOMMENDATION OF
                                      )           UNITED STATES MAGISTRATE JUDGE
13   THIS REPORT RELATES ONLY TO: )               RE DEFENDANT FORD’S MOTION FOR
     BROWN v. FORD, 2:18-cv-4190 AB)              SANCTIONS UNDER FRCP 37(D)
14   (FFMx); CANNON v. FORD, 2:18-cv-)            AND/OR THE COURT’S INHERENT
     4817 AB (FFMx); EINBUND v. FORD,)            POWERS
15   2:18-cv-2901 AB (FFMx); GARZA v.)
     FORD, 2:18-cv-2745 AB (FFMx);)
16   HERNANDEZ v. FORD, 2:18-cv-8736)
     AB (FFMx); HILL v. FORD, 2:18-cv-)
17   4409 AB (FFMx); HOLMSTEDT v.)
     FORD, 2:18-cv-4328 AB (FFMx);)
18   MOWRER v. FORD, 2:18-cv-4602 AB)
     (FFMx); NICHOLS v. FORD, 2:18-cv-)
19   8733 AB (FFMx); PISARKIEWICZ v.)
     FORD, 2:18-cv-4423 AB (FFMx);)
20   SNYDER v. FORD, 2:18-cv-4618 AB)
     (FFMx); STRAW v. FORD, 2:18-cv-)
21   4425 AB (FFMx); SULLIVAN v.)
     FORD, 2:18-cv-4622 AB (FFMx);)
22   VALENCIA v. FORD, 2:18-cv-2865 AB)
     (FFMx); VANIDESTINE v. FORD,)
23   2:18-cv-2618 AB (FFMx)           )
                                      )
24

25         This Report and Recommendation is submitted to the Honorable André J.
26   Birotte, Jr., United States District Judge, pursuant to the provisions of 28 U.S.C. § 636
27   and General Order 194 of the United States District Court for the Central District of
28   California.
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 2 of 20 Page ID #:24887



 1                                    I. PROCEEDINGS
 2          On August 26, 2019, defendant Ford Motor Company (“Ford”) filed its “Motion
 3   for Sanctions Under FRCP 37(d) and/or the Court’s Inherent Powers” (the “Motion for
 4   Sanctions”). (Docket No. 438.) Ford notes that Consumer Legal Remedies (“CLR”)
 5   represents the plaintiffs in 15 of the 30 pending IDP cases (the “CLR plaintiffs”).
 6   (Docket No. 438, p. 9.) The Motion for Sanctions contends that the CLR plaintiffs
 7   have obstructed Ford’s discovery by refusing to produce a single document in
 8   response to a document request or provide a single substantive interrogatory answer
 9   during the discovery period. (Docket No. 438, p. 9.) Ford contends that the
10   obstructionist behaviour of the CLR plaintiffs has prejudiced Ford to the extent that
11   the cases of the CLR plaintiffs should be dismissed as a sanction under Federal Rule
12   of Civil Procedure 37(d) and/or the Court’s inherent powers. (Docket No. 438, pp. 9,
13   37-38.)
14          The CLR plaintiffs filed an opposition (the “Opposition”) on September 10,
15   2019. (Docket No. 458.) Ford filed a reply (the “Reply”) on September 17, 2019.
16   (Docket No. 473.) Magistrate Judge Mumm conducted a hearing regarding the
17   Motion for Sanctions on October 8, 2019.1 After reviewing all of the documents filed
18   by the parties with respect to the Motion for Sanctions, the Court concludes that the
19   CLR plaintiffs willfully refused to comply with their discovery obligations. The CLR
20   Plaintiffs have offered no legally tenable justification for their behaviour. The Court
21

22
        1
          At the hearing, counsel for the CLR plaintiffs asserted that, at a hearing before
23   Judge Birotte on September 26, 2019, Judge Birotte made a ruling on a motion (not a
24   discovery motion) that is relevant to the current Motion for Sanctions. Counsel
     further stated that Judge Birotte explained the rationale for the ruling at the hearing;
25
     counsel asserted that that rationale has implications for the instant motion. The Court
26   has reviewed the transcript of that hearing and finds Judge Birotte’s comments,
     essentially that the parties should resolve with each other technical compliance issues
27
     with the expert discovery rules, provide no guidance with respect to the instant
28   motion.
                                                 2
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 3 of 20 Page ID #:24888



 1   further concludes that Ford has been prejudiced and that any sanction other than
 2   dismissal would not ameliorate that prejudice. Therefore, the Court recommends that
 3   the CLR plaintiffs’ actions be dismissed.
 4                                   II. BACKGROUND
 5         The following chart summarizes the parties’ relevant actions.
 6    August 2018        Ford serves deposition notices    Thomas Declaration, Dkt 235-
 7                       in 83 Ford cases pending in       2, ¶¶ 3-5.
                         Michigan (first attempt).
 8

 9
                         Plaintiff files motion for        Id.
10                       protective order, seeking to
11                       stay Ford’s depositions until
                         plaintiffs take discovery.
12
                         Motion DENIED.
13

14    October 2018       Ford re-notices depositions       Id.
                         (second attempt).
15

16
                         Plaintiffs ignore deposition      Id. at ¶ 6.
17                       notices.
18
      Early November     Michigan court confirms that      Id. at ¶ 7.
19
      2018               Ford may take depositions.
20

21    November 16,       Ford requests deposition dates    Exhibit 1, Dkt 235-4
22    2018               from plaintiffs.

23
                         Plaintiffs do not provide any     Thomas Declaration, Dkt 235-
24                       dates.                            2, ¶ 7.
25

26    November 19,       Ford serves deposition notices    Id. at ¶ 8.
      2018               again (third attempt).
27

28

                                                 3
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 4 of 20 Page ID #:24889



 1                    Plaintiffs fail to produce      Id. at ¶ 9.
 2                    deponents.
 3   Late November    Michigan court again confirms Id. at ¶ 10.
     2018             that Ford may take depositions.
 4

 5                    Ford again requests dates from   Id.
 6                    plaintiffs.
 7
                      Plaintiffs do not provide any    Id.
 8
                      dates.
 9

10   December 6,      Michigan court stays             Id. at ¶ 11.
     2018             proceedings in that court.
11

12
     January 29,      Ford serves plaintiffs Brown     Dkt 438-4.
13   2019             and Cannon with first set of
14                    requests for admission and
                      requests for production of
15
                      documents.
16

17   February 22,     Ford serves plaintiffs Brown     Dkt 438-5.
     2019             and Cannon with
18
                      interrogatories and a second set
19                    of requests for admission and
20                    requests for production.
21
     February 22,     Ford serves initial              Dkt 438-3, ¶ 4; 438-6.
22
     2019             interrogatories, requests for
23                    admission, and requests for
24                    production on the remaining
                      CLR plaintiffs.
25

26

27

28

                                            4
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 5 of 20 Page ID #:24890



 1   March 6,         Ford informs plaintiffs that        Id. at ¶ 13.
 2   2019             Ford is prepared to file a
                      motion for sanctions based on
 3
                      plaintiffs’ failure to appear for
 4                    depositions.
 5                    Ford does not receive timely        Dkt 438-3, ¶¶ 2, 5.
 6                    responses to the January 29,
                      2019, and February 22, 2019,
 7
                      discovery requests.
 8

 9   March 22,        Ford notifies plaintiffs that   Dkt 438-7.
     2019             Ford has not received
10
                      discovery responses and that
11                    requests for admission were
12                    deemed admitted; inquires
                      when Ford could expect to
13
                      receive responses; and requests
14                    proposed dates to meet and
15                    confer.
16
     March 25,        Plaintiffs assert that responses    Dkt 438-8; 438-9.
17
     2019             to first set of requests for
18                    admission and requests for
19                    production to Brown and
                      Cannon were mailed on March
20
                      1, 2019, and forward to Ford
21                    copies of responses, which
22                    were wholly comprised of
                      frivolous objections.
23

24                    Ford never receives the             Dkt 438-3, ¶ 9.
25                    originals of the discovery
                      responses that were allegedly
26
                      mailed on March 1, 2019.
27

28

                                              5
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 6 of 20 Page ID #:24891



 1   April 2,         Ford informs plaintiffs that it Dkt 438-10.
 2   2019             never received the regular mail
                      or email copies of the
 3
                      discovery responses that were
 4                    allegedly sent on March 1,
 5                    2019, and requests that
                      plaintiffs thereafter email
 6
                      copies of whatever they mail or
 7                    send by Federal Express.
 8

 9   April 3,         Ford files motion for sanctions     Dkt 235.
     2019             for plaintiffs’ failure to appear
10
                      for depositions.
11

12   April 12,        Ford informs plaintiffs that        Dkt 438-13.
     2019             plaintiffs’ responses to Ford’s
13
                      second set of discovery were
14                    overdue and inquires when
15                    plaintiffs would be sending the
                      responses.
16

17
     April 13,        Plaintiffs notify Ford that the     Dkt 438-13.
18   2019             responses to Ford’s second set
19                    of discovery would be
                      delivered on April 16, 2019.
20

21   April 17,        Ford receives responses to its      Dkt 438-3, ¶ 14.
22   2019             second set of discovery which
                      are wholly comprised of
23
                      frivolous objections (cut and
24                    pasted into each interrogatory,
25                    request for admission, and
                      request for production
26
                      response).
27

28

                                             6
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 7 of 20 Page ID #:24892



 1   April 15, 2019      The letter accompanying the        Dkt 438-3, ¶ 14.
 2   (postmarked -the    responses asserts that they
     letter itself is    were duplicates and that the
 3
     dated April 13,     originals had been mailed on
 4   2019).              March 27, 2019.
 5

 6                       Ford never receives the            Dkt 438-3, ¶ 18.
                         original allegedly mailed
 7
                         responses to either its first or
 8                       second set of written
 9                       discovery.

10
     April 29,           Ford serves its third set of       Dkt 438-19.
11   2019                requests for production on
12                       plaintiffs Brown and Cannon.
13
     May 1,              Plaintiffs agree to appear for     Dkt 438-20.
14
     2019                depositions and vehicle
15                       inspections and to provide
16                       supplemental discovery
                         responses “to any outstanding
17
                         discovery requests” in
18                       exchange for Ford taking its
19                       motion for sanctions regarding
                         the depositions off calendar -
20
                         motion taken off calendar.
21

22   late May or early   Plaintiffs Brown and Cannon        Dkt 438-21.
     June 2019           serve responses to Ford’s third
23
                         set of requests for production
24                       which are wholly comprised of
25                       frivolous objections.
26

27

28

                                                 7
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 8 of 20 Page ID #:24893



 1                    The proof of service indicates       Dkt 438-21.
 2                    that the responses were mailed
                      on May 29, 2019, but the
 3
                      envelope contains no postal
 4                    service date stamp.
 5

 6   June 10,         Ford receives the frivolous       Dkt 438-21.
     2019             objections to Ford’s third set of
 7
                      requests for production to
 8                    plaintiffs Brown and Cannon.
 9
     July 1, 2019     Discovery cutoff date
10
     July 3,          Ford requests the parties meet       Dkt 438-23.
11
     2019             and confer regarding the
12                    adequacy of plaintiffs’
13                    objections-only responses to
                      Ford’s first, second, and third
14
                      sets of written discovery to
15                    Brown and Cannon and Ford’s
16                    first set of discovery to the
                      remaining CLR plaintiffs.
17

18

19   July 9,          Ford grants plaintiffs an            Dkt 438-3, ¶ 26.
     2019             extension of one week to
20
                      respond to the July 3, 2019,
21                    letter; plaintiffs fail to respond
22                    by extended deadline.
23
     July 24,         A week after the extended            Dkt 438-3, ¶ 27.
24
     2019             deadline passed, plaintiffs
25                    request and are granted an
26                    additional week to respond to
                      the July 3, 2019, letter.
27

28

                                              8
Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 9 of 20 Page ID #:24894



 1   July 29,         In response to a request from       Dkt 438-3, ¶ 28.
 2   2019             plaintiffs, Ford re-sends the
                      July 3, 2019, letter to plaintiffs.
 3

 4
                      Ford receives no further           Dkt 438-3, ¶ 29.
 5                    communication from plaintiffs
 6                    regarding the issue.

 7
     August 1,        Ford serves plaintiffs with        Dkt 438-24.
 8   2019             Ford’s portion of a joint
 9                    stipulation regarding the
                      current motion for sanctions
10
                      and requests that plaintiffs
11                    provide their portions by
12                    August 8, 2019. As of this
                      date, Ford has not received a
13
                      single substantive response to
14                    any of its written discovery to
15                    the CLR plaintiffs.
16

17

18

19

20

21

22

23

24

25

26

27

28

                                             9
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 10 of 20 Page ID
                                     #:24895


 1    August 5,         Plaintiffs serve supplemental       Dkt 438-25; 438-26, 438-27.
 2    2019              responses to Ford’s written
                        discovery by email. None of
 3
                        the supplemental responses is
 4                      signed or verified by a
 5                      plaintiff. (The names of some
                        plaintiffs are typed at the end
 6
                        of some of the responses
 7                      (apparently in an attempt to
 8                      simulate an electronic
                        signature); no verification is
 9
                        provided for any response).
10                      The supplemental responses,
11                      for the most part, merely
                        contain a lengthy list of
12
                        document numbers of
13                      documents produced by Ford.
14

15    August 7,         Plaintiffs assert that service of   Dkt 438-29.
      2019              the supplemental discovery
16
                        responses rendered moot any
17                      meet and confer obligation as
18                      to the original responses.

19
      August 9,         Ford requests that plaintiffs       Dkt 438-30.
20    2019              confer regarding the status of
21                      plaintiffs’ portions of the joint
                        stipulation regarding the
22
                        current motion.
23

24    August 13, 2019   Ford requests that plaintiffs   Dkt 438-31.
25                      forward their portion of the
                        joint stipulation regarding the
26
                        current motion by the next day.
27

28

                                               10
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 11 of 20 Page ID
                                     #:24896


 1    August 14, 2019   Plaintiffs notify Ford that          Dkt 438-32.
 2                      plaintiffs consider the current
                        motion untimely and refuse to
 3
                        provide their portion of joint
 4                      stipulation until timeliness
 5                      objection is discussed.
 6
      August 16, 2019   Ford renews its request that         Dkt 438-3, ¶ 40.
 7
                        plaintiffs respond to the joint
 8                      stipulation and forwards an
 9                      updated joint stipulation
                        including events that occurred
10
                        after August 1, 2019.
11

12    August 19, 2019   Plaintiffs again assert that they    Dkt 438-3, ¶ 41.
                        need not respond to the joint
13
                        stipulation.
14

15                      Ford again asserts that the joint Id.
16                      stipulation is not moot and
                        requests that plaintiffs provide
17
                        their response.
18

19    August 20, 2019   Plaintiffs again assert that the     Dkt 438-3, ¶ 42.
                        current motion is time-barred
20
                        and assert that service of the
21                      August 16, 2019, updated joint
22                      stipulation entitled plaintiffs to
                        an additional 10 days to
23
                        respond.
24

25

26

27

28

                                               11
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 12 of 20 Page ID
                                     #:24897


 1                        Ford responds the same day,         Id.
 2                        advising plaintiffs that it
                          intends to proceed with the
 3
                          joint stipulation
 4

 5                        Plaintiffs do not respond.          Id.
 6    August 26, 2019     Ford files its motion for           Dkt 438
                          sanctions without plaintiffs’
 7
                          portion of the joint stipulation.
 8

 9    October 8, 2019     Hearing held on Ford’s motion       Dkt 508
10                        for sanctions. The matter is
                          taken under submission.
11
      October 9, 2019     Plaintiffs’ file “Attorney          Dkt 506
12                        Signatures and Parties’
13                        Verifications” which still
                          contain no verifications signed
14
                          by any party.
15

16

17                                     III. DISCUSSION

18                    A. STANDARDS FOR IMPOSING SANCTIONS

19         Pursuant to Rule 37(d)(3) of the Federal Rules of Civil Procedure, the Court has

20   broad discretion to fashion a remedy sanctioning a party for failing to serve discovery

21   responses. The options available to the Court include, among other things, dismissing

22   the action in whole or in part.

23         In addition, under its inherent power, a court may impose sanctions on an

24   attorney or party “if the court specifically finds bad faith or conduct tantamount to bad

25   faith.” Fink v. Gomez, 239 F.3d 989, 994 (9th Cir. 2001). “Sanctions are available for

26   a variety of types of willful actions, including recklessness when combined with an

27   additional factor such as frivolousness, harassment, or an improper purpose.” Id.

28   ///

                                                 12
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 13 of 20 Page ID
                                     #:24898


 1         In reviewing a dismissal of an action imposed as a sanction, the Ninth Circuit
 2   has explained:
 3         We have come up with a five-part “test” to determine whether a dismissal
 4         sanction is just:
 5                (1) the public’s interest in expeditious resolution of litigation; (2)
 6         the court’s need to manage its dockets; (3) the risk of prejudice to the
 7         [party seeking sanctions]; (4) the public policy favoring disposition of
 8         cases on their merits; and (5) the availability of less drastic sanctions.
 9         Malone v. United States Postal Service, 833 F.2d 128, 130 (9th Cir.
10         1987).
11   Valley Engineers Inc. v. Electric Engineering Co., 158 F.3d 1051, 1057 (9th Cir.
12   1998). In addition, the Ninth Circuit has stated that, in order to warrant the sanction of
13   dismissal, the party’s violations must be due to willfulness or bad faith. Dreith v. Nu
14   Image, Inc., 648 F.3d 779, 788 (9th Cir. 2011).
15         1. Willfulness or Bad Faith
16         Because the Ninth Circuit has stated that a lack of willfulness or bad faith
17   precludes the sanction of dismissal, the Court will address that factor first.
18   “‘Willfulness, bad faith, or fault’ does not require wrongful intent; rather, disobedient
19   conduct not shown to be outside the party’s control is by itself sufficient to establish
20   willfulness, bad faith, or fault.” Sanchez v. Rodriguez, 298 F.R.D. 460, 463 (C.D. Cal.
21   2014) (citing, inter alia, Jorgensen v. Cassiday, 320 F.3d 906, 912 (9th Cir. 2003)).
22         Throughout this litigation, the CLR plaintiffs have obstinately refused to
23   comply even minimally with their discovery obligations. Starting with their
24   deposition gamesmanship - refusing to cooperate in scheduling depositions, pursuing
25   an unmeritorious motion to prevent Ford from pursuing depositions, and not appearing
26   for noticed depositions - and continuing through their reaction to written discovery -
27   ignoring interrogatories, document production requests, and requests for admission,
28   then claiming to have served responses when they apparently had not, agreeing to

                                                 13
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 14 of 20 Page ID
                                     #:24899


 1   serve responses in connection with Ford’s agreement to withdraw a motion for
 2   sanctions, only to serve entirely frivolous objections to each and every discovery
 3   request, and delaying Ford’s attempts to obtain substantive responses by requesting
 4   numerous extensions to respond to Ford’s requests to meet and confer, only to stop
 5   communicating with Ford altogether with respect to the issues raised by Ford. Once
 6   Ford provided its portion of a joint stipulation on its motion for sanctions, plaintiffs
 7   served supplemental responses that were wholly deficient. For the most part, these
 8   supplemental responses were merely comprised of a lengthy list of document
 9   identification numbers of documents produced by Ford. With respect to the
10   interrogatory answers, listing document numbers does not comply with the
11   requirements of Federal Rule of Civil Procedure 33. Many of the interrogatories
12   requested plaintiffs’ contentions or evidence supporting certain allegations. Rule
13   33(d) provides an option for identifying records only where the answer to the
14   interrogatory “may be determined by examining, auditing, compiling, abstracting, or
15   summarizing a party’s business records [], and if the burden of deriving or ascertaining
16   the answer will be substantially the same for either party . . . .” Simply listing Ford’s
17   records provides not a clue to plaintiffs’ contentions or what evidence supports certain
18   claims of plaintiffs.
19         Moreover, plaintiffs did not verify any of the interrogatory responses as
20   required by Federal Rule 33(b)(3). Even after the hearing, where the failure to provide
21   verified answers was discussed, plaintiffs submitted to the Court verification forms
22   that were not signed by any of the plaintiffs. Apparently, plaintiffs were taking the
23   position that typing the name of the plaintiff somehow has the same effect as
24   providing a plaintiff’s verification. Such a procedure may be available as an
25   electronic signature with respect to court filings executed by registered CM/ECF
26   filers. That procedure has no application to declarations by parties, filed electronically
27   or not. Local Rule 5-4.3.4 provides, in part:
28   ///

                                                 14
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 15 of 20 Page ID
                                     #:24900


 1                [a](3) Documents Requiring Signatures Other Than Those
 2                of CM/ECF Filers. In the case of documents requiring
 3                signatures other than those of registered CM/ECF filers
 4                (such as declarations), the filer shall scan the hand-signed
 5                signature page(s) of the document in PDF format and
 6                electronically file the document in accordance with L.R.
 7                5-4.3.1.
 8         (b) Maintenance of Original Hand-signed Documents. With respect to
 9         any electronically filed document containing a scanned copy of a
10         hand-signed page, the filer shall maintain the original, signed document,
11         for subsequent production to the assigned judge if so ordered for
12         inspection upon request by a party or the judge’s own motion, until one
13         year after final resolution of the action (including the appeal, if any).
14   (Emphasis added.)
15         In any event, regardless of whether or not discovery responses could ever be
16   construed as electronically filed documents, declarations under penalty of perjury
17   (such as verifications) must actually be signed by the person subject to the penalty of
18   perjury.
19         The Supreme Court has held that dismissal as a sanction is not appropriate if the
20   recalcitrant party establishes that the failure to comply was due to an inability to
21   comply. National Hockey League v. Metropolitan Hockey Club, Inc., 427 U.S. 639,
22   640, 96 S.Ct. 2778, 49 L.Ed.2d 747 (1976). The CLR plaintiffs have not alleged they
23   were unable to comply. In any event, plaintiffs bear the burden of proving such
24   inability. See, e.g., F.T.C. v. Affordable Media, 179 F.3d 1228, 1241 (9th Cir. 1999)
25   (“[T]he party asserting the impossibility defense must show categorically and in detail
26   why he is unable to comply.” (Internal quotation marks deleted) (motion for civil
27   contempt)); see also In re Chase & Sanborn Corp., 872 F.2d 397, 400 (11th Cir. 1989)
28   (“To succeed on this defense [of inability to comply], however, the respondent must

                                                 15
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 16 of 20 Page ID
                                     #:24901


 1   go beyond a mere assertion of inability and satisfy his burden of production on the
 2   point by introducing evidence in support of his claim.” (Citation deleted)). The CLR
 3   plaintiffs have failed to demonstrate an inability to comply.
 4           In opposition, plaintiffs make at best a half hearted attempt to excuse their
 5   noncompliance. Rather, plaintiffs rely on the expiration of the discovery cutoff date as
 6   a defense to the motion2 and contend that Ford’s efforts to meet and confer were
 7   inadequate.3 The only “excuse” plaintiffs offer for their behaviour is that they were
 8   not happy with Ford’s discovery responses. Such an excuse is no excuse and merely
 9   underscores the willful nature of plaintiffs’ actions. Finally, plaintiffs contend that the
10   individual plaintiffs produced documents at their depositions. Plaintiffs neither
11   substantiate that contention nor make any attempt to associate any documents actually
12   produced with any of Ford’s written document production requests.
13           Based on the foregoing, the Court concludes that plaintiffs’ failure to comply
14   with their discovery obligations was willful.
15           2. The Public Interest in Expeditious Resolution of Litigation and the
16           Court’s Need to Manage its Dockets
17           The first two factors weigh in favor of dismissal. The obstructionist behaviour
18   of the CLR plaintiffs has already caused needless delay in the discovery of facts that
19   would aid in the ultimate resolution of this litigation. As Ford notes, the discovery
20   deadline was extended twice at the request of the CLR plaintiffs. Despite these
21   extensions, the CLR plaintiffs never provided substantive responses to Ford’s
22   discovery requests prior to the filing of this Motion for Sanctions. This pattern of
23   behaviour not only delayed this litigation, but needlessly burdened this Court’s docket
24   with motions that should not have been necessary.
25

26      2
            Plaintiffs’ timeliness argument is addressed and rejected below.
27      3
         Plaintiffs’ failure to meet and confer argument also is addressed and rejected
28   below.
                                                  16
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 17 of 20 Page ID
                                     #:24902


 1         3. Risk of Prejudice to Ford
 2         In reviewing the third factor, prejudice, the Court looks to the impact the
 3   recalcitrant party’s actions have had on the other party. “A defendant suffers prejudice
 4   if the plaintiff’s actions impair the defendant’s ability to go to trial or threaten to
 5   interfere with the rightful decision of the case.” Adriana Intern. Corp. v. Thoeren, 913
 6   F.2d 1406, 1412 (9th Cir. 1990) (citing Malone, 833 F.2d at 130). Moreover, “[f]ailure
 7   to produce documents as ordered . . . is considered sufficient prejudice.” Adriana, 913
 8   F.2d at 1412 (citing Securities and Exchange Comm’n v. Seaboard Corp., 666 F.2d
 9   414, 417 (9th Cir. 1982).
10         Here, the CLR plaintiffs failed to provide answers to interrogatories and
11   responses to document requests exploring the bases of their claims. These actions
12   utterly obstructed Ford’s attempts to learn what, if any, support the CLR plaintiffs had
13   for their claims. The CLR plaintiffs’ actions prejudiced Ford’s ability to defend itself
14   in this action and hampered the search for the truth.
15         4. Public Policy Favoring Disposition of Case on the Merits
16         The fourth factor is at best neutral. Ford has been deprived of its right to
17   participate in a fair hearing on the merits by the CLR plaintiffs’ refusal to participate
18   in discovery. Therefore, it is plaintiffs who have frustrated any attempt to have these
19   cases decided on their merits.
20         5. Availability of Less Drastic Sanctions
21         In evaluating the fifth factor (the availability of less drastic sanctions), the Ninth
22   Circuit has developed a three part test: whether the court considered lesser sanctions,
23   whether it tried lesser sanctions, and whether the court warned the disobedient party.
24   Valley Engineers, 158 F.3d at 1057. However, depending on the facts, the court need
25   not try lesser sanctions before ordering dismissal. Id. (“[W]e have said that it is not
26   always necessary for the court to impose less serious sanctions first, or to give any
27   explicit warning.”).
28   ///

                                                  17
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 18 of 20 Page ID
                                     #:24903


 1         Here, no lesser sanction would be appropriate. First, because the CLR plaintiffs
 2   have obstructed important discovery as to the entirety of their claims, any lesser
 3   sanction would not ameliorate the prejudice suffered by Ford. Second, this Magistrate
 4   Judge has considered and rejected lesser sanctions. The CLR plaintiffs engaged in the
 5   same pattern of obstructionist behaviour with respect to Ford’s first, second, and third
 6   sets of discovery requests and manipulated Ford into granting extensions of time, only
 7   to provide utterly frivolous objections-only responses. In addition, as Ford notes,
 8   plaintiffs engaged in the same obstructionist behaviour with respect to depositions,
 9   requiring Ford to file a motion for sanctions in April 2019 before plaintiffs finally
10   agreed to appear for deposition. Given the CLR plaintiffs’ persistence in engaging in
11   obstructionist litigation tactics throughout the discovery period, which is now closed,
12   no lesser sanction would ameliorate the prejudice suffered by Ford. Considering all of
13   the facts, including the willfulness demonstrated by the CLR plaintiffs’ repeated
14   obstruction of discovery, both as to depositions and written discovery, the Court need
15   not try lesser sanctions before dismissal.
16                   B. TIMELINESS OF MOTION FOR SANCTIONS
17         The CLR plaintiffs argue that Ford’s motion is untimely because it was not filed
18   before the July 1, 2019, discovery cutoff. They point to the August 13, 2019,
19   transcript of a hearing before Magistrate Judge Mumm regarding a motion to compel
20   the deposition of a Ford Rule 30(b)(6) witness filed by the Knight Law Group
21   plaintiffs in these cases. At that hearing, Judge Mumm indicated that he intended to
22   deny the motion as being untimely because it was filed after the discovery cutoff.
23   (Docket No. 458, pp. 6-7 and Exhibit C thereto, pp. 3-4, 12-13.)
24         However, Ford correctly notes that, while the motion filed by the Knight Law
25   Group plaintiffs sought to compel additional discovery, the current motion instead
26   seeks sanctions. Rule 37 contains no explicit deadline for filing a motion for
27   sanctions. Fed. R. Civ. P. 37. In addition, sanctions under the Court’s inherent power
28   can be imposed at any time, even after entry of judgment. Cooter & Gell v. Hartmarx

                                                  18
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 19 of 20 Page ID
                                     #:24904


 1   Corp., 496 U.S. 384, 294-97, 110 S.Ct. 2447, 2455-56 (1990); Chambers v. Nasco,
 2   Inc., 501 U.S. 32, __, 111 S.Ct. 2123, 2134 (1991). The Motion for Sanctions is
 3   timely.
 4                C. FORD’S COMPLIANCE WITH LOCAL RULE 37-1
 5         The CLR plaintiffs next argue that, their service of supplemental discovery
 6   responses eliminated the need to respond to Ford’s initial proposed Joint Stipulation
 7   and that, if Ford had any concerns about the sufficiency of the supplemental responses,
 8   Ford had a duty under Local Rule 37-1 to meet and confer regarding those responses
 9   before filing the current motion. However, as explained more fully supra, the record
10   indicates that Ford attempted to meet and confer with the CLR plaintiffs on multiple
11   occasions prior to serving the Joint Stipulation. The CLR plaintiffs could not
12   unilaterally trigger a new meet and confer period by belatedly serving deficient
13   supplemental responses after the discovery cutoff. Moreover, the late service of the
14   deficient supplemental discovery responses did not excuse the CLR plaintiffs’ prior
15   sanctionable conduct and therefore did not render moot the current Motion for
16   Sanctions.
17                               III. RECOMMENDATION
18         Accordingly, IT THEREFORE IS RECOMMENDED that the District Court
19   issue an order approving and adopting this Report and Recommendation and
20   dismissing the CLR plaintiffs’ Complaints with prejudice.
21

22   DATED: October 17, 2019
23
                                            _____________________________
24                                              FREDERICK F. MUMM
                                              United States Magistrate Judge
25

26

27

28

                                               19
     Case 2:18-ml-02814-AB-PVC Document 549 Filed 10/17/19 Page 20 of 20 Page ID
                                     #:24905


 1                                           NOTICE
 2         Reports and Recommendations are not appealable to the Court of Appeals, but
 3   are subject to the right of any party to timely file Objections as provided in the Local
 4   Rules Governing the Duties of the Magistrate Judges, and review by the District Judge
 5   whose initials appear in the docket number. No Notice of Appeal pursuant to the
 6   Federal Rules of Appellate Procedure should be filed until entry of the Judgment of
 7   the District Court.
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                 20
